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                                                                                       E-FILED
                                                         Tuesday, 21 January, 2020 01:40:32 PM
                                                                  Clerk, U.S. District Court, ILCD

              IN THE UNITED STATES DISTRICT COURT FOR THE
             CENTRAL DISTRICT OF ILLINOIS – URBANA DIVISION


KIMBERLYNN BOLANOS,

                     Plaintiff,
                                             No. 1:19-cv-01190-HAB
                v.

JOHN BALDWIN, MELVIN HINTON,
WEXFORD HEALTH SOURCES,
JEFFREY SIM, LUKE FAIRLESS,
NORINE ASHLEY, MARJORIE
ARDON, DENISE MOOS, JENNIFER
MCCLELLAN, MICHAEL KESSLER,                  JURY TRIAL DEMANDED
KEENA PEEK, MICHAEL LONG,
TONYA BOTTRELL, JENNIFER
ALLISON, DANIELLE HARTZELL,
ALYSSA STEPHENSON, ELLA LEE,
and other as-yet-unidentified employees
of Wexford or the Illinois Department of
Corrections,

                     Defendants.



                             SECOND AMENDED COMPLAINT

      Kimberlynn Bolanos, through her counsel, Uptown People’s Law Center,

complains against defendants John Baldwin, Melvin Hinton, Jeffrey Sim, Luke

Fairless, Norine Ashley, Marjorie Ardon, Denise Moos, Jennifer McClellan, Michael

Kessler, Keena Peek, Michael Long, Tonya Bottrell, Jennifer Allison, Danielle

Hartzell, Alyssa Stephenson, Ella Lee and Wexford Health Sources as follows:
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                            JURISDICTION AND VENUE
      1.     This is an action brought pursuant to 42 U.S.C. § 1983 to redress the

deprivation under color of law of plaintiff’s rights as secured by the United States

Constitution.

      2.     This Court has jurisdiction pursuant to 28 U.S.C. §§ 1331 and 1367.

      3.     Venue is proper in this district under 28 U.S.C. § 1391(b) because

plaintiff resides in this judicial district and the events giving rise to the claims

asserted in this complaint occurred in this judicial district.

                                       PARTIES

      4.     Plaintiff Kimberlynn Bolanos is a twenty-six-year-old woman who is

currently in the custody of the Illinois Department of Corrections (“IDOC”).

      5.     At all times relevant to this complaint, defendant John Baldwin was

the Director of IDOC. He was responsible for overseeing operations at IDOC,

including mental health care.

      6.     At all times relevant to this complaint, defendant Melvin Hinton was

the Director of Mental Health for IDOC. He was responsible for overseeing mental

health treatment for prisoners in IDOC.

      7.     For a portion of the time relevant to this complaint, defendant Jeffrey

Sim was IDOC’s Central Regional Psychologist Supervisor with oversight of Logan

Correctional Center (“Logan”). He was responsible for overseeing the mental health

care provided at Logan Correctional Center, ensuring that the mental health care

provided adhered to departmental regulations and that the patients received the

care they needed.

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      8.     For a portion of the time relevant to this complaint, defendant Luke

Fairless was IDOC’s Central Regional Psychologist Supervisor with oversight of

Logan Correctional Center. He was responsible for overseeing the mental health

care provided at Logan Correctional Center, ensuring that the mental health care

provided adhered to departmental regulations and that the patients received the

care they needed.

      9.     At all times relevant to this complaint, defendant Norine Ashley was

the Director of Mental Health at Logan Correctional Center, the IDOC facility

where plaintiff was incarcerated.

      10.    At all times relevant to this complaint, defendant Dr. Marjorie Ardon

was the psychiatrist responsible for plaintiff’s mental health treatment and care.

      11.    At times relevant to this complaint, defendant Denise Moos was a

mental health professional with responsibility for plaintiff’s mental health

treatment and care.

      12.    At times relevant to this complaint, defendant Dr. Jennifer McClellan

was a psychologist and the Mental Health Services Director of the Logan

Correctional Center Residential Treatment Unit (“RTU”), where plaintiff was

housed and where she was supposed to receive mental health treatment. Dr.

McClellan was responsible for overseeing care and treatment in the RTU, and also

personally participated in plaintiff’s treatment planning.

      13.    At times relevant to this complaint, defendant Dr. Michael Kessler was

a psychologist with responsibility for plaintiff’s mental health treatment and care.



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       14.      At times relevant to this complaint, defendant Dr. Keena Peek was a

psychologist with responsibility for plaintiff’s mental health treatment and care.

       15.      At times relevant to this complaint, defendant Michael Long was a

mental health professional with responsibility for plaintiff’s mental health

treatment and care.

       16.      At times relevant to this complaint, defendants Alyssa Stephenson and

Ella Lee were mental health workers responsible for monitoring and protecting

plaintiff from self-harm.

       17.      At times relevant to this complaint, defendants Jennifer Allison, Tonya

Bottrell, and Danielle Hartzell were correctional officers responsible for monitoring

and protecting plaintiff from self-harm.

       18.      At all times relevant to this complaint, defendant Wexford Health

Sources had a contractual obligation to provide mental health treatment to people

in the custody of IDOC.

                                       Background

       19.      Plaintiff Kimberlynn Bolanos is a twenty-six-year-old woman who has

struggled with very serious mental illness since her teenage years.

       20.      In 2013, when plaintiff was twenty-one years old, plaintiff experienced

an episode of psychosis during which she committed a violent act and attempted to

kill herself.

       21.      Plaintiff did not succeed in taking her own life, but she was charged

with homicide.



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      22.     Plaintiff continued to experience mental health crises while the

criminal charges were pending against her, at times requiring inpatient mental

health treatment.

      23.     In 2016, plaintiff was found “guilty but mentally ill” on the homicide

charge and was sentenced to a 38-year term in the IDOC.

                   Assessments at Logan Correctional Center
  Demonstrate that Plaintiff Has Very Serious Mental Health Needs and Poses a
                      Substantial Risk of Harm to Herself

      24.     Plaintiff arrived at Logan Correctional Center on or around November

2, 2016.

      25.     At that time, plaintiff was on several psychiatric medications,

including an anti-psychotic medication, all of which had been prescribed to her in

the Cook County Jail.

      26.     Plaintiff reported to Logan intake staff that she had a history of

auditory hallucinations and that she often woke during the night screaming.

      27.     She also told intake staff that she had a history of multiple suicide

attempts, including an overdose of anti-psychotic medications approximately one

month prior to her arrival at Logan.

      28.     Approximately one week after her arrival at Logan, plaintiff

underwent a comprehensive psychological evaluation by psychologist Brian

Richardson.




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      29.    Richardson noted that plaintiff had an extensive history of self-

mutilation and suicide attempts and that the behavior was motivated by psychotic

processes.

      30.    Richardson diagnosed plaintiff with paranoid schizophrenia and major

depressive disorder.

      31.    He further noted: “She is prone to borderline-like decompensations into

self-destructiveness.”

      32.    In terms of future treatment, Richardson concluded: “This patient

appears to be suffering from the early stages of a chronic mental illness, and guilt

from her crime creates a motivation for ‘self-torture’ that could lead to tragic

consequences until she is stabilized and monitored for stability.”

      33.    Richards recommended that plaintiff receive treatment in Logan’s

Residential Treatment Unit (“RTU”). At the time, the RTU was the highest level of

treatment that IDOC provided to prisoners.

                         Dr. Ardon’s First Meeting with Plaintiff

      34.    On November 11, 2016, plaintiff underwent a psychiatric evaluation

with defendant Dr. Marjorie Ardon.

      35.    During that evaluation, Dr. Ardon observed that plaintiff was having

suicidal thoughts and that she was experiencing several signs of psychosis,

including auditory and visual hallucinations.

      36.    Dr. Ardon diagnosed plaintiff with schizoaffective disorder. She

estimated plaintiff’s suicide risk as “high,” and wrote in all caps: “IT IS NOTED



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THAT THE INMATE HAS REPEATED SUICIDAL ATTEMPTS WITHOUT

TELLING ANYONE ABOUT THEM.”

      37.    Dr. Ardon also noted that plaintiff had not been taking her psychiatric

medications as prescribed.

      38.    Dr. Ardon renewed plaintiff’s prescription for psychiatric medications,

changing the dosage of plaintiff’s anti-psychotic medication.

      39.    Psychiatrists know that it is important to closely monitor patients on

anti-psychotic medication, particularly when medication has been changed and

when medication non-compliance may be an issue.

      40.    Dr. Ardon did not monitor plaintiff closely, however; she did not see

her again for almost two months.

                     Dr. Ardon’s Second Meeting With Plaintiff

      41.    Dr. Ardon had her second meeting with plaintiff on January 8, 2017.

The meeting occurred by video.

      42.    At this meeting Dr. Ardon learned that plaintiff’s issues with

medication non-compliance had gotten worse since the November 11 appointment.

      43.    Dr. Ardon noted that plaintiff did not want to talk to Dr. Ardon during

the January 8 meeting.

      44.    Dr. Ardon observed that plaintiff would not look directly at Dr. Ardon;

instead, plaintiff looked sideways, toward a window, with her hair covering her face.




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      45.    Despite her knowledge that plaintiff faced a serious risk of harm, Dr.

Ardon simply told plaintiff that her medication would be discontinued if she refused

three doses, and took no other action in terms of treatment.

      46.    The January 8, 2017 meeting lasted approximately 13 minutes.

          Plaintiff’s “Treatment Planning” from January 2017 to June 2017

      47.    All prisoners who receive ongoing mental health treatment are

supposed to have individualized “treatment plans,” prepared collectively by the

prisoner’s mental health treatment team.

      48.    The treatment plan is one of the most important documents in a

patient’s mental health record: it guides the delivery of care and service by all

actors in the mental health system.

      49.    Between January 2017 and June 2017, defendant Denise Moos created

and updated plaintiff’s treatment plans.

      50.    Although Moos “updated” plaintiff’s treatment plan six times during

this period, a close look at the plans shows that little care or attention was put

toward these efforts.

      51.    For example, all six treatment plans (a) incorrectly state that plaintiff

was found not guilty but mentally ill, when in fact she was found guilty but

mentally ill; (b) omit plaintiff’s most serious mental health diagnoses, including

paranoid schizophrenia, and (c) contain the same typographical errors, strongly

suggesting that the same document was simply re-printed with a new date on each

of the six occasions.



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      52.    None of the treatment plans constituted a medically acceptable plan

for treatment of plaintiff’s severe mental illness.

      53.    Moos interacted with plaintiff for only a few minutes in connection

with four of the treatment plan updates.

      54.    During each of these meetings it was clear that the existing treatment

plan was not working and that plaintiff was getting worse.

      55.    Nevertheless, the records for all four of these meetings contain

identical language for the “Recommendation” and “Plan” portions, strongly

suggesting that Moos’ treatment planning consisted of a perfunctory cut-and-paste

job as opposed to the application of professional medical judgment.

      56.    Dr. Ardon did not participate in any of Moos’s treatment planning.

                      Plaintiff’s Mental Illness Goes Untreated

      57.    The primary form of treatment for people with schizophrenia and

related psychotic disorders is medication.

      58.    Trained mental health professionals know that patients like plaintiff

who experience psychosis often become non-compliant with psychiatric medications.

      59.    As the American Psychiatric Association’s (“APA”) Practice Guidelines

put it: “Not uncommonly, patients with schizophrenia stop taking medications, miss

clinic appointments, fail to report essential information to their psychiatrists, and

otherwise choose to not participate in recommended treatments.” See American

Psychiatric Association, Practice Guideline For The Treatment of Patients With

Schizophrenia 19 (2d ed. 2004),



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https://psychiatryonline.org/pb/assets/raw/sitewide/practice_guidelines/guidelines/sc

hizophrenia.pdf.

      60.    Trained mental health professionals also know that medication non-

compliance poses a serious risk of harm to patients like plaintiff.

      61.    According to the APA Practice Guidelines, “Most patients who develop

schizophrenia and related psychotic disorders (schizoaffective disorder and

schizophreniform disorder) are at very high risk of relapse in the absence of

antipsychotic treatment.” Id. at 38.

      62.    For these reasons, mental health professionals know it is extremely

important to promote medication compliance among patients like plaintiff.

      63.    Psychiatrists and other mental health professionals employ a variety

of strategies for securing medication compliance. Id. at 18-19. Among the most

effective of these strategies is building a “therapeutic alliance” with the patient and

closely monitoring the patient for adverse side effects. Id. at 10, 18-19.

      64.    When medication non-compliance poses a risk of harm to the patient or

others, mental health professionals can and should take steps to enforce medication

compliance. Id.

      65.    In other words, medication non-compliance is a foreseeable

complication of schizophrenia and related disorders; it is itself something that

mental health professionals should actively address, not ignore

      66.    Furthermore, when one method of achieving compliance is proven

ineffective, mental health professionals should attempt another method.



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      67.    All of the mental health professionals responsible for plaintiff’s care

knew that plaintiff’s medication non-compliance posed a substantial risk of harm to

plaintiff, and none of them took meaningful steps to address plaintiff’s medication

non-compliance.

               Plaintiff Attempts Suicide, is Placed on “Crisis Watch,”
                          Where She Receives No Treatment

      68.    On June 6, 2017, plaintiff experienced a serious mental health

emergency.

      69.    That day, plaintiff’s mental illness caused her to run out of the

building where she was housed and run across the prison yard toward a fence

yelling “shoot me, shoot me.”

      70.    This action was incredibly dangerous, as it could have resulted in

plaintiff or someone else being shot by armed prison guards.

      71.    At this point, plaintiff clearly needed emergency psychiatric treatment.

      72.    As the APA Practice Guidelines put it: “Rapid initiation of emergency

treatment is needed when an acutely psychotic patient is exhibiting aggressive

behaviors toward self, others, or objects.” Id. at 27.

      73.    Rather than provide plaintiff with emergency treatment, however, one

or more of the defendants and/or an as-yet-unidentified IDOC and/or Wexford

employee sent plaintiff to “crisis watch.”

      74.    At the time, IDOC and Wexford had a custom of using “crisis watch” as

a form of de facto solitary confinement. They used “crisis watch” to isolate and




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contain people experiencing serious mental health crises, but not to actually provide

them with needed treatment.

      75.       Consistent with IDOC and Wexford’s custom, it was not until two days

after plaintiff’s suicide attempt that she had an encounter with a mental health

professional.

      76.       The mental health professional who saw plaintiff on June 8, Lindsay

Hummel, spent only 5 minutes with plaintiff.

      77.       In that 5-minute meeting, Hummel observed that plaintiff was staring

at the wall of her cell and talking to something. Plaintiff told Hummel that she was

talking to a “friend,” and then she began picking at her ear and started laughing.

      78.       Thereafter, Hummel consulted with Dr. McClellan, who decided to

place plaintiff on a 10-minute watch (apparently decreased from her initial

classification of “continuous watch”) and took no action in terms of treatment.

      79.       The next day, on June 9, another mental health professional saw

plaintiff, this time for 10 minutes. This professional, Rebecca Goldsmith, noted that

plaintiff was hearing voices and said she wanted to die.

      80.       During the meeting plaintiff pointed at Goldsmith’s face and asked, “Is

that your nose, your lips, your pores?”

      81.       Goldsmith consulted with Dr. Peek, who decided to keep plaintiff on

10-minute watch, and took no action in terms of treatment.

      82.       Later that afternoon, Dr. Ardon, Dr. Kessler, and LPC Long had a

conference to discuss plaintiff. They discussed the fact that plaintiff was



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experiencing “active psychosis,” and Dr. Ardon recommended that plaintiff should

be treated by enforced medication.

       83.     Instead of providing plaintiff with treatment at that time, however, Dr.

Ardon, Dr. Kessler, and LPC Long decided that Dr. Ardon would set an

appointment with plaintiff at some undetermined future date to discuss medication

enforcement.

       84.     In the meantime, plaintiff continued to deteriorate, going completely

without treatment and sitting alone in her cell, entirely isolated.

                 Plaintiff Openly Self-Harms While On “Crisis Watch”

       85.     On the afternoon of June 10, defendant correctional officers Jennifer

Allison and Tonya Bottrell were assigned to monitor plaintiff in her crisis cell.

       86.     In this assignment, defendants Allison and Bottrell were aware that

plaintiff posed a serious risk of self-harm to herself, and they were responsible for

monitoring plaintiff to ensure her safety.

       87.     Around 2:30pm on June 10, defendants Allison and Bottrell observed

plaintiff acting erratically.

       88.     Defendant Allison observed plaintiff standing naked at the end of her

bed, bent over, with her thumb in her mouth. When Allison asked plaintiff if she

was ok, plaintiff bent down with both of her eyes wide open and placed her open

eyeball on the metal end of her bed.

       89.     Allison reported this observation to Bottrell as well as to defendants

Alyssa Stephenson and Ella Lee.



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      90.     Allison, Bottrell, Stephenson, and Lee knew about plaintiff’s erratic

self-harming behavior on June 10.

      91.     Allison, Bottrell, Stephenson, and Lee knew that plaintiff posed an

extremely serious risk of further self-harm to herself, but they failed to take

reasonable steps to mitigate the risk.

                Plaintiff Declines Into Psychosis and Self-Enucleates

      92.     During the early morning hours of June 11, defendant correctional

officer Danielle Hartzell was assigned to monitor plaintiff in her crisis cell.

      93.     In this assignment, Hartzell knew that plaintiff posed a serious risk of

self-harm to herself and that it was important to monitor plaintiff closely to ensure

her safety.

      94.     On belief, defendant Hartzell did not monitor plaintiff as assigned.

While defendant Hartzell was supposed to be watching plaintiff she was instead

some distance away from plaintiff, attending to something else.

      95.     While defendant Hartzell was supposed to be watching plaintiff,

plaintiff was experiencing an episode of psychosis during which she removed each

one of her eyes completely from their sockets.

      96.     Hartzell became aware of plaintiff’s injuries only after another officer

happened to notice plaintiff and called for an emergency response.

      97.     A nurse who was summoned to the scene observed that plaintiff’s face,

legs, and feet were covered in blood, and that one of plaintiff’s eyes was on the bed

and the other was on the ground.



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      98.    Plaintiff was taken to an outside emergency room, where her mental

illness was finally treated with medication.

      99.    As a result of the June 11 incident, plaintiff is permanently blind.

             Baldwin, Hinton, Ashley, Sim, Fairless, and Wexford’s Role

      100.   At all times relevant to this complaint, defendants Baldwin, Hinton,

Ashley, Sim, Fairless, and Wexford knowingly maintained an inadequate mental

health care system throughout IDOC.

      101.   In 2007 a federal class action lawsuit was filed in the Central District

of Illinois concerning IDOC’s failure to provide adequate mental health care in

Illinois prisons. See Rasho v. Baldwin, No. 07-cv-1298-MMM (C.D. Ill.).

      102.   As the litigation progressed, the Court appointed monitors who

investigated systemic problems in IDOC’s mental health care system, identified key

problem areas, and made recommendations for change.

      103.   By 2015, defendants Baldwin, Hinton, Ashley, Sim, and Fairless were

personally aware from their participation in the Rasho litigation that IDOC’s

mental health care program suffered from a number of systemic problems that

posed significant dangers to prisoners with mental illness.

      104.   The same was true for Wexford. Although Wexford was not a

defendant in the Rasho litigation, Wexford personnel who made policy-level

decisions with respect to its IDOC contract remained abreast of all major issues in

Rasho and participated in settlement negotiations.




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      105.   Specifically, Baldwin, Hinton, Ashley, Sim, Fairless and Wexford were

aware in or around 2015 of the following systemic problems:

         a. IDOC mental health programs were dangerously understaffed;

         b. Patients on psychotropic medication were inadequately monitored;

         c. Treatment planning was done in a perfunctory manner that did not

             address the individual patients’ treatment needs; and

         d. The mental health treatment needs of patients on “crisis watch” were

             not addressed.

      106.   Defendants Baldwin, Hinton, Ashley, Sim, Fairless and Wexford knew

that the systemic problems identified above posed a substantial risk of harm to

prisoners with serious mental illness.

      107.   In December 2015, defendant Baldwin signed a settlement agreement

on behalf of IDOC with the Rasho plaintiffs. Pursuant to this agreement,

Defendants Baldwin and Hinton pledged to work with Wexford to address the

systemic problems identified above.

      108.   Notwithstanding the settlement agreement, defendants Baldwin,

Hinton, Ashley, Sim, Fairness and Wexford did not take reasonable steps to address

the systemic problems identified above, and the systemic problems persisted until

and throughout 2017.

      109.   The systemic problems identified above were the moving force behind

the actions and omissions of the mental health professionals who interacted with

plaintiff at Logan Correctional Center from November 2016 to June 2017.



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                                    COUNT ONE:
                      42 U.S.C § 1983 – EIGHTH AMENDMENT

       110.   Plaintiff repeats and re-alleges all of the paragraphs in this complaint

as if fully set forth herein.

       111.   As described in further detail above, defendants violated plaintiff’s

right under the Eighth Amendment of the United States Constitution to be free

from cruel and unusual punishment.

       112.   As a result of the misconduct described in this count, plaintiff suffered

physical, emotional, and psychological harm.

                                      COUNT TWO:
                                STATE LAW – NEGLIGENCE

       113.   Plaintiff repeats and re-alleges all of the paragraphs in this complaint

as if fully set forth herein.

       114.   In the manner described more fully above, each of the defendant

mental health treaters Jennifer McClellan, Keena Peek, Marjorie Ardon, Michael

Kessler, Michael Long, Denise Moos, Alyssa Stephenson, and Ella Lee owed

plaintiff a professional duty of reasonable care, which they breached.

       115.   As a result of the misconduct described in this count, plaintiff suffered

physical, emotional, and psychological harm.

       116.   Defendant Wexford is liable for the state law torts of the individuals

listed in Paragraph 115 above under the doctrine of respondeat superior.

       WHEREFORE, plaintiff Kimberlynn Bolanos respectfully requests that the

Court enter judgment in her favor and against all Defendants for compensatory



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damages, punitive damages, and attorneys’ fees and costs, and for any other relief

deemed proper.

                                  JURY DEMAND

       Pursuant to Federal Rule of Civil Procedure 38, plaintiff demands a jury trial

on all issues so triable.

                                              Respectfully Submitted,

                                              KIMBERLYNN BOLANOS

                                              By: /s/Elizabeth Mazur.
                                              One of plaintiff’s attorneys

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